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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

                                                   §
RACHEL MYRICK,                                     §
                                                   §
                Plaintiff,                         §
                                                   §    CIVIL CASE NO. 2:22-CV-370-JRG
v.
                                                   §
TEXAS STATE TECHNICAL COLLEGE,                     §
                                                   §
                Defendant.                         §
                                                   §
                                                   §
                                                   §


                                                ORDER
       Before the Court is the Joint Notice of Settlement and Request for Stay (the “Motion”)

filed by Plaintiff Rachel Myrick (“Plaintiff”) and Defendant Texas State Technical College

(“Defendant”). (Dkt. No. 54.) In the Motion, the parties represent that they have reached a
    .
settlement in principle and request that the Court stay all deadlines pending the finalization of the

release and settlement agreement. (Id. at 1.)

       Having considered the Motion, and noting its joint nature, the Court is of the opinion that

it should be and hereby is GRANTED. Accordingly, it is ORDERED that all deadlines in the

above-captioned case are STAYED up to and including March 13, 2024, during which time

appropriate dismissal papers are to be filed with the Court.

      So ORDERED and SIGNED this 13th day of February, 2024.




                                                          ____________________________________
                                                          RODNEY GILSTRAP
                                                          UNITED STATES DISTRICT JUDGE
